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                        United States Court of Appeals
                                              FOR THE
                                       SECOND CIRCUIT
                                       _________________

      At a stated term of the United States Court of Appeals for the Second Circuit,
held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the
City of New York, on the 20th day of January, two thousand twenty-three.

Present:
               Richard J. Sullivan,
               Alison J. Nathan,
               Sarah A. L. Merriam,
                     Circuit Judges.
_________________________________________________

New York State Telecommunications Association, Inc.,
CTIA - The Wireless Association, ACA Connects -
America’s Communications Association, USTelecom -
The Broadband Association, NTCA - The Rural
Broadband Association, Satellite Broadcasting and
Communications Association, on behalf of their
respective members,

                               Plaintiffs-Appellees,

                                         v.                          No. 21-1975

Letitia A. James, in her official capacity as Attorney
General of New York,

                        Defendant-Appellant.
_________________________________________________

       IT IS HEREBY ORDERED, on the Court’s own motion, that the parties shall file
supplemental briefs, not to exceed fifteen double-spaced pages in length, addressing whether this
Court has appellate jurisdiction over the stipulated judgment below. In particular, the parties shall
address each of the following questions:

   1. Under United States v. Olano, 507 U.S. 725, 733 (1993), does Defendant-Appellant’s
      stipulation to the entry of a judgment stating that Defendant-Appellant would be
      “permanently enjoined from enforcing,” J. App’x at 157, the Affordable Broadband Act,
      N.Y. Gen. Bus. Law § 399-zzzzz, constitute an “intentional relinquishment” of Defendant-
      Appellant’s claim to be free from such an injunction? If so, is this Court “at liberty” to
      dissolve the permanent injunction under Wood v. Milyard, 566 U.S. 463, 466 (2012)? If
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         this Court lacks power to dissolve the permanent injunction, does Defendant-Appellant
         lack Article III standing to pursue this appeal under Food Marketing Institute v. Argus
         Leader Media, 139 S. Ct. 2356 (2019)?

    2. Under New York v. Shinnecock Indian Nation, 686 F.3d 133, 138 (2d Cir. 2012), and
       Perpetual Securities, Inc. v. Tang, 290 F.3d 132, 136 (2d Cir. 2002), was any defect in
       appellate standing here cured by the provision of the stipulated judgment stating that
       Defendant-Appellant “expressly reserves all appellate rights in this matter,” J. App’x
       at 157?

    3. Under Chappelle v. Beacon Communications Corp., 84 F.3d 652, 654 (2d Cir. 1996), and
       Purdy v. Zeldes, 337 F.3d 253, 257 (2d Cir. 2003), does the stipulated judgment below lack
       finality for purposes of 28 U.S.C. § 1291, insofar as Plaintiffs-Appellees voluntarily
       dismissed their claim under 42 U.S.C. § 1983 “without prejudice,” J. App’x at 158? If so,
       did Plaintiffs-Appellees stipulate at oral argument (and/or would they now stipulate) to
       dismiss that claim with prejudice, and would such a stipulation cure any defect in finality? 1

The parties shall file their briefs by Monday, January 30, 2023.

                                                       FOR THE COURT:
                                                       Catherine O’Hagan Wolfe, Clerk of Court




1
  The Court is in receipt of Defendant-Appellant’s letter of January 20, 2023, filed prior the issuance of this Order,
which offered “further response to the Court’s questioning during . . . oral argument” regarding whether “the stipulated
final judgment the district court entered below constitutes an appealable final decision under 28 U.S.C. § 1291.” Doc.
No. 210 at 1. In addressing the third question set forth above, Defendant-Appellant’s supplemental brief may either
(1) rest on the arguments made in Defendant-Appellant’s letter of January 20, 2023, or (2) supplement such arguments,
as Defendant-Appellant deems appropriate. Defendant-Appellant shall fully address the first and second questions
set forth above.

                                                           2
